            Case 2:09-cr-00116-SMJ                    ECF No. 193              filed 01/20/16            PageID.998 Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)

                                                                                                                                   FILED IN THE
                                      UNITED STATES DISTRICT COURT                                                             U.S. DISTRICT COURT
                                                                                                                         EASTERN DISTRICT OF WASHINGTON
                                                                        for the
                                                       Eastern District
                                                      __________        of Washington
                                                                  District of __________                                   Jan 20, 2016
                                                                                                                                SEAN F. MCAVOY, CLERK

                    United States of America
                               v.                                          )
                      RONALD F. HIPKISS                                    )
                                                                           )    Case No: 2:09-CR-00116-RHW-2
                                                                           )    USM No: 12792-085
Date of Original Judgment:                            09/28/2010           )
Date of Previous Amended Judgment:                    11/14/2011           )    Meredith Esser
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ’ DENIED. ’       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   121 months              months is reduced to 120 months                           .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          11/14/2011              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  01/20/2016
                                                                                                         Judge’s signature


Effective Date:                                                      Robert H. Whaley, Senior Judge U.S. District Court
                     (if different from order date)                                                    Printed name and title
